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  1   Gary L. Eastman, Esq. (CSB #182518)
      Eastman & McCartney, LLP
  2   401 West A Street, Suite 1785
  3   San Diego, CA 92101
      (619) 230-1144
  4
      Attorney for Plaintiff
  5   HELIX ENVIRONMENTAL PLANNING, INC.
  6
  7
  8
                                 UNITED STATES DISTRICT COURT
  9                            SOUTHERN DISTRICT OF CALIFORNIA
 10
 11
         HELIX ENVIRONMENTAL                              CASE NO: 18cv2000 AJB NLS
 12      PLANNING, INC. a California
 13
         Corporation,
                                                          DECLARATION OF GARY L. EASTMAN
 14                             Plaintiff,                IN SUPPORT OF PLAINTIFF’S MOTION
                                                          FOR DEFAULT JUDGMENT
 15
              vs.
 16                                                       Judge: A. J. Battaglia
         HELIX ENVIRONMENTAL                              Courtroom: 4A
 17
         AND STRATEGIC                                    Date: May 30, 2019
 18
         SOLUTIONS, a California                          Time: 2:00 p.m.
 19      Corporation,
 20
                                Defendant.
 21
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 28
      Declaration of Gary L. Eastman ISO Plaintiff’s Motion for
      Default Judgment                                                  CASE NO.: 18cv2000 AJB NLS

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  1           I, Gary L. Eastman, hereby declare as follows:
  2
  3           1.       I am an attorney for HELIX ENVIRONMENTAL PLANNING, INC.
  4   (“Helix”) in the above entitled action. I have personal knowledge of the facts
  5   stated herein, and if called as a witness, I could and would testify competently
  6   thereto.
  7           2.       I filed the Complaint in this action on August 27, 2018 (Doc. No. 1).
  8           3.       I coordinated the service of the Summons and Complaint on
  9   Defendant HELIX ENVIRONMENTAL AND STRATEGIC SOLUTIONS
 10   (“Helix2”) counsel pursuant to F.R.C.P. Rule 4 Waiver of Service of Summons.
 11           4.       The Summons and Complaint were provided to Defendant Helix2 via
 12   FRCP Rule 4 Waiver which was executed by counsel for Helix2 on October 24,
 13   2018, and filed October 25, 2018. (Doc. No. 4).
 14           5.       Since the filing of this case, I have spoken with counsel for
 15   Defendant Helix2 on many occasions. During these discussions, Defendant
 16   counsel acknowledged receipt of the Complaint.
 17           6.       The time period for Defendant Helix2 to file an Answer or otherwise
 18   respond has expired.
 19           7.       No resolution of the case has been reached.
 20           8.       Defendant Helix2 is not a minor, an incompetent person, or in
 21   military service.
 22           9.       To date, Defendant Helix2 has not filed an Answer, or otherwise
 23   responded to the Complaint.
 24           10.      On January 8, 2019, Plaintiff Helix’s counsel sent a final demand
 25   letter to Defendant Helix2’s counsel requesting that Helix2 cease use of the
 26   HELIX trademark by January 16, 2019, file its Answer or other responsive
 27   pleading by January 17, 2019, or Plaintiff Helix will file its Request for Clerks
 28   Default on January 18, 2019.
      Declaration of Gary L. Eastman ISO Plaintiff’s Motion for
      Default Judgment                                            CASE NO.: 18cv2000 AJB NLS

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  1           11.      On January 18, 2019, I submitted a Request for Entry of Clerk’s
  2   Default as Docket No. 5. A copy of the Request was served on counsel for
  3   Helix2.
  4           12.      The Clerk entered default on January 22, 2019 as Docket No. 6.
  5           13.      On January 29, 2019, I received an email from counsel for Helix2
  6   acknowledging the entry of the Default and seeking further discussions regarding
  7   settlement.
  8           14.      On January 30, 2019, in response I sent an email to counsel for
  9   Helix2 and reiterated Helix’ demand that Helix2 cease its use of the HELIX mark.
 10           15.      At no times has Plaintiff Helix withdrawn its allegations of
 11   Trademark Infringement against Defendant.
 12           16.      Plaintiff seeks default judgment and an order directing Defendant
 13   Helix2 to stop its ongoing infringement of the HELIX trademark.
 14
 15           I certify and declare under penalty of perjury under the laws of the United
 16   States of America and the State of California that the foregoing is true and correct.
 17
 18
 19           Dated: February 4, 2019
 20           Eastman & McCartney LLP
 21
 22           By: /s/ Gary L. Eastman
 23                    Gary L. Eastman, Esq.
 24                    Attorney for Plaintiff
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      Declaration of Gary L. Eastman ISO Plaintiff’s Motion for
      Default Judgment                                            CASE NO.: 18cv2000 AJB NLS

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  1
  2                                      CERTIFICATE OF SERVICE
  3           I, the undersigned certify and declare as follows:
  4
            I am over the age of eighteen years and not a party to this action. My
  5
      business address is 401 West A Street, Suite 1785, San Diego, California, 92101,
  6   which is located in the county where the service described below took place.
  7
            On February 4, 2019, at my place of business in San Diego, California, I
  8   served a copy of the following document:
  9
        DECLARATION OF GARY L. EASTMAN IN SUPPORT OF PLAINTIFF’S MOTION
 10     FOR DEFAULT JUDGMENT
 11
      Via ECF The undersigned hereby certifies that he caused a copy of the foregoing
 12   documents to be filed with the clerk of the U.S. District Court, Southern District
 13   of California, using the CM/ECF filing system, and has forwarded a copy to be
      electronically mailed to the following recipients:
 14
 15   Chris Arledge, Esq.
 16
      One LLP
      4000 MacArthur Blvd.
 17   East Tower, Suite 500
 18   Newport Beach, CA 92660
      Attorneys for Defendant
 19
 20
             I certify and declare under penalty of perjury under the laws of the United
 21
      States of American and the State of California that the foregoing is true and
 22   correct.
 23
      Executed on February 4, 2019, in San Diego, California.
 24
 25   By:     /s/ Gary Eastman
                                                          Gary Eastman
 26
 27
 28
      Declaration of Gary L. Eastman ISO Plaintiff’s Motion for
      Default Judgment                                                   CASE NO.: 18cv2000 AJB NLS

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